                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE                      Motion DENIED as MOOT.
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )               No. 3:12-00170-3
                                              )
               v.                             )               Judge Trauger
                                              )
ELICIO FUERTE-BARRIGA                         )

                              MOTION FOR STATUS HEARING

        The United States, through United States Attorney David Rivera and Assistant United

States Attorney Brent A. Hannafan, hereby requests this Court set a status hearing for defendant

Fuerte-Barriga in order to determine whether defendant intends to proceed to trial on April 29,

2014.

        On February 20, 2014, this Court granted the United States’ Motion to Strike defendant’s

Motion to Dismiss, with leave to re-file the motion under certain conditions. (Docket No. 141).

On February 25, 2014, this Court set a trial date of April 29, 2014, and ordered that any pre-trial

motions must be filed by April 1, 2014. (Docket Nos. 149 and 150). As of today, defendant has

not sought to re-file his motion to dismiss, and has not filed any other pre-trial motions.

        The undersigned made a settlement offer to defendant’s counsel more than two weeks

ago. Since that time, defendant’s counsel has repeatedly advised the undersigned that

defendant’s counsel intends to file a motion to continue the April 29, 2014 trial date in order to

discuss that offer with the defendant. To date, no motion to continue has been filed.

        The United States has no objection to a continuance of defendant’s trial. However, the

undersigned is also scheduled to begin another trial as lead counsel before Chief Judge Haynes

on May 13, 2014. That trial is expected to last two to three weeks. Whether the trial in this case

will proceed on April 29, 2014 has a significant effect on the undersigned’s trial preparation in

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that case. Due to the fact that the trial date in this case is now only three weeks away, the United

States respectfully requests this Court set a status hearing for defendant Fuerte-Barriga in order

to determine whether he intends to enter a plea of guilty, proceed to trial on April 29, 2014, or

request a continuance of that trial date.



                                                             Respectfully submitted,

                                                             DAVID RIVERA
                                                             United States Attorney for the
                                                             Middle District of Tennessee

                                                             BY: s/Brent A. Hannafan
                                                             Brent A. Hannafan
                                                             Assistant U.S. Attorney
                                                             110th Avenue South, A96l
                                                             Nashville, Tennessee 37203
                                                             Phone: 615-736-5151

                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 8, 2014, I electronically served one copy of the United
States= Motion by using the CM/ECF system, which will provide notice of the filing to
defendant’s attorney, Richard Sullivan.

                                                              s/ Brent A. Hannafan
                                                             Brent A. Hannafan
                                                             Assistant U.S. Attorney
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